Case 3:17-cr-00460-M     Document 220      Filed 04/02/18    Page 1 of 16      PageID 593



                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

UNITED STATES OF AMERICA                   §
                                           §
V.                                         §
                                           §           No. 3:17-cr-460-D (2)
JAQUREAY ADAMS,                            §
                                           §
             Defendant.                    §

                    MEMORANDUM OPINION AND ORDER

      Defendant Jaqureay Adams is charged with Conspiracy to Distribute a

Controlled Substance, in violation of 21 U.S.C. § 846; Possession with Intent to

Distribute Marijuana, in violation of 21 U.S.C. § 841 (b)(1)(D) and 18 U.S.C. § 2; and

Possession of a Semiautomatic Assault Weapon in Furtherance of a Drug Trafficking,

in violation of 18 U.S.C. §§ 924(c)(1)(A) & (B)(I) and 2 in a second superseding

indictment filed in this district. See Dkt. No. 151.

      On his arrest on the first superseding indictment, Adams had his initial

appearance on December 27, 2017. See Dkt. No. 133. After a detention hearing on

December 28, 2017, the Court denied the government’s motion for detention and

ordered Adams released subject to – and only once compliance was confirmed with –

certain conditions. See Dkt. Nos. 139 & 140. The Court explained at the conclusion of

the hearing that

      [w]e’re here, back here today for a hearing on the Government’s motion
      for detention as to Jaqureay Adams, charged by superseding indictment
      in this case with violating two different drug offenses, a violation of 21
      United States Code Section 846 and 841(b)(1)(D), as well as a firearm in
      furtherance of that drug trafficking offense, in violation of 18 United

                                           -1-
Case 3:17-cr-00460-M    Document 220      Filed 04/02/18    Page 2 of 16    PageID 594



      States Code Section 924(c).
             The Government has moved for detention and has invoked, as is its
      right, the so-called rebuttable presumption that provides that, whereas
      here, a grand jury has indicted the defendant and thereby found probable
      cause to believe that Mr. Adams has committed a drug offense that
      carries with it at least a 10-year maximum sentence, that the Court is to
      presume there is no combination of conditions that the Court could set to
      reasonably assure Mr. Adams’ appearance as required or the safety of the
      community if he was to be released.
             This requires Mr. Adams to come forward with some evidence to
      rebut that presumption – that is, that suggests that there in fact are
      conditions that could be set to reasonably assure his appearance and the
      safety of the community – and then the burden remains with the
      Government to ultimately prove its motion if he comes forward with some
      evidence.
             I’ve considered the testimony of Officer Schroeder, one of the case
      agents, the report of Pretrial Services, Government’s Exhibits 1 through
      7 that have been admitted, which includes Government’s Exhibit 6 that
      is ten video clips that were shown here in court today. I’ve considered all
      this in light of the factors that are set out by the Bail Reform Act for
      consideration here that include the nature and circumstances of the
      charged offense, the apparent weight of the evidence against Mr. Adams,
      and his history and characteristics.
             Here, the evidence clearly shows by video Mr. Adams handling
      large amounts of drugs and cash with a gun in his waistband in the
      apartment where his codefendants are engaged in drug trafficking that
      evidence shows consistently involves several firearms and the
      brandishing of a firearm each time a customer comes in, as well as
      showing Mr. Adams’ own Facebook page and posts supporting those same
      codefendants after some of the arrests some months ago.
             The evidence showed that Mr. Adams had access to an area of the
      apartment where this conspiracy, this drug trafficking conspiracy was
      taking place, where suppliers, not customers of the drugs, were present.
      And the evidence also shows that law enforcement has included Mr.
      Adams as a confirmed gang member, along with his codefendants, and
      that he was known to Irving Police Department for several years and is
      now facing a long – a substantial prison sentence if he is convicted of the
      charges.
             I do find Mr. Adams has come forward, though, with some evidence
      to rebut the presumption as to each of these matters. The evidence shows
      he has a concealed handgun license [(“CHL”)] as well as a commercial
      driver’s license to allow him to drive trucks. He is gainfully employed as
      a truck driver, including for FEMA in hurricane relief for the last three

                                          -2-
Case 3:17-cr-00460-M     Document 220     Filed 04/02/18     Page 3 of 16    PageID 595



      months. In fact, the evidence shows he was actually arrested going to the
      Department of Public Safety or what we – somebody said we all think of
      as the DMV in connection with his CDL, and has a history of gainful
      employment outside of drug trafficking.
             He has no criminal history, no passport or history of international
      travel. His mother came forward and testified today. I should say, I
      considered her testimony, too, Sharhonda Adams’ testimony. She’s willing
      to be a third-party custodian and have Mr. Adams live with her. I do find
      that this is evidence to rebut the presumption both as to risk of flight and
      danger.
             The question then is, it seems to me, whether, at this point, then,
      under the proper analysis here, whether the evidence of Mr. Adams’
      involvement with the codefendants in drug trafficking that included
      firearms and facing a long sentence, as I mentioned a few minutes ago,
      means, under these circumstances, that there’s no combination of
      conditions that the Court could set to reasonably assure the safety of the
      community and his appearance as required if he were to be released.
             Under all the circumstances here, I believe there is such a
      combination of conditions, despite the gravity of the drug and firearm
      offenses that are involved in this conspiracy and the amount of prison
      time that Mr. Adams faces. I don’t mean to give undue credit to this, but
      I should have mentioned a moment ago, I should say, evidence of his
      involvement with his now-detained codefendants in this drug trafficking
      activity. Under all the circumstances here and given the conditions and
      the resources that are available, I do believe there are conditions that
      could be set to reasonably assure the safety of the community and Mr.
      Adams’ appearance if he is released, and I will therefore deny the
      Government’s motion for detention and order that Mr. Adams be released
      subject to certain conditions, which I will go over now.

Dkt. No. 210 at 86-89.

      Among those conditions required by the Court’s Order Setting Conditions is that

Adams’s mother serve as his third-party custodian; that Adams “not possess a firearm,

destructive device, or other weapon”; and that Adams “surrender all firearms by 9 am

on December 29, 2017 to pretrial services as well as the concealed handgun license”

that the evidence at the detention hearing led the Court to believe that Adams had

been issued. Dkt. No. 140 at 2. The Court imposed the latter condition – and

                                          -3-
Case 3:17-cr-00460-M    Document 220     Filed 04/02/18    Page 4 of 16   PageID 596



conditioned Adams’s release on its first being met – after a discussion on the record

with counsel:

      THE COURT [TO MR. ADAMS]: I am going to order that you not possess
      a firearm, destructive device, or other weapon. I guess I’m happy to hear
      from Ms. Jones on this. I’m not going to order that you turn over your
      commercial handgun license, but simply that you don’t actually possess
      it, that you surrender the weapons, any weapons that you currently have,
      and you not obtain any or possess any at any time. Whether – what that
      does with your commercial handgun license or the concealed handgun
      license under state law is, as far as I’m concerned, for somebody else to
      deal with.
      ....
      THE COURT: Ms. Jones, are there any other conditions the Government
      would ask that I consider?
      MS. JONES: Yes, Judge. The Government does request that that weapon
      that he has discussed be turned in by tomorrow morning at 9:00 a.m. to
      Pretrial Services. And then also I understand the Court’s position on the
      CHL. It’s a state matter. But that does come with an actual license. The
      Government would ask that that be turned in as well to Pretrial Services
      no later than 9:00 a.m. And –
      THE COURT: Okay. I mean, I see what you’re saying.
      MS. JONES: Right.
      THE COURT: I mean, surrender the –
      MS. JONES: Actual – yeah.
      THE COURT: Yeah.
      MS. JONES: I understand the Court doesn’t have jurisdiction to revoke
      that license, but we would ask that the hard copy of that license be
      turned in.
      ....
      THE COURT: Further, I will add the condition that Mr. Adams will
      surrender all firearms by 9:00 a.m. on December 29, 2017 to Pretrial
      Services, as well as the concealed handgun license.
      MR. CARRIZALES: Not that it be revoked? Simply –
      THE COURT: Yeah. No. Just to be clear, –
      MR. CARRIZALES: – the physical license?
      THE COURT: Just to be clear, the actual physical.
      MR. CARRIZALES: Yes.
      ....
      MS. JONES: Pretrial Services has just brought up an issue to me. They
      would ask that, given the firearm and the CHL, that he remain in
      custody tonight until those things are brought tomorrow morning and

                                         -4-
Case 3:17-cr-00460-M    Document 220      Filed 04/02/18    Page 5 of 16    PageID 597



      that be verified by them, and that the monitor be in place and everything
      set up in accordance with the Court’s conditions. In other words, that he
      not be let out until those things are set up and ready to go.
      THE COURT: Yeah, I agree with that, so I’m – that is the – I’ll provide
      this order won’t go into effect – the Marshal is ordered to keep Mr. Adams
      in custody until they’re notified by the Clerk or myself or my chambers
      or Pretrial Services that he has complied with all of these pre – these
      conditions of – I mean, the – I guess let me ask. Mr. Carrizales, would you
      – will you be able, through the family, to get a hold of his concealed
      handgun license and the firearm?
      MR. CARRIZALES: I will certainly speak to his mother and make sure
      that we get it verified. I don’t know, you know, where any firearms are,
      but where – to the extent that we can locate them, they will certainly get
      turned in.
      THE COURT: Okay.
      ....
      THE COURT: All right. Thank you. As we’ve discussed, Mr. Adams will
      remain in custody until certain things have taken place – specifically,
      that his firearm has been surrendered to Pretrial Services as well as the
      physical concealed handgun license and the electronic monitoring is set
      up and in place. And at that time, once Pretrial Services advises the
      Marshals that that’s all in place, then at that time, pursuant to this
      order, Mr. Adams can be released pursuant to this order setting
      conditions of release.
              Mr. Adams, do you have any questions about anything we’ve gone
      over here today?
      THE DEFENDANT: No, sir. I will be back here, you said, at 9:00 o’clock
      tomorrow?
      THE COURT: Well, your – no, the firearm and the concealed handgun
      license must be turned over by 9:00 a.m. tomorrow. Or later, I guess. If
      you need to ask for more time, Mr. Carrizales, you can reach out to the
      Court.
      MR. CARRIZALES: We should – I’ll be working with the ATF agents to
      try to get it done tonight.
      THE COURT: Okay. Very good.
              No, you won’t actually be back in court here, Mr. Adams.
      THE DEFENDANT: Okay.
      THE COURT: You’ll be ultimately, I think, back at Pretrial Services’
      office here in this building and then released from there by the Marshals
      once everything’s in place and all those conditions have been met in
      advance.
      THE DEFENDANT: All right.


                                          -5-
Case 3:17-cr-00460-M    Document 220     Filed 04/02/18    Page 6 of 16    PageID 598



Dkt. No. 210 at 91, 92, 99-100, 101-02, 106-07. This followed the testimony of several

witnesses regarding a concealed handgun license, including the case agent:

      [MS. JONES:] And when the defendant was arrested on this case, where
      was he?
      [CHAD SCHROEDER:] He went to Texas DPS to renew his driver’s
      license of some sort, and that’s where they – they ran him on NCIC and
      found he had a federal arrest warrant.
      [MS. JONES:] Did he have anything with him?
      [CHAD SCHROEDER:] He had a handgun in his waistband is what I was
      told by the arresting officer.
      ....
      [MS. JONES:] Now, he has, based on your knowledge, he has a concealed
      handgun permit?
      [CHAD SCHROEDER:] Yes, ma’am. I hadn’t reviewed that myself, but
      that’s what the DPS trooper who made the arrest said, that he had a
      valid handgun license through the State of Texas.
      [MS. JONES:] Was he in violation of that handgun license by anything
      that you witnessed?
      [CHAD SCHROEDER:] I don’t know about that building. I really don’t
      know about the laws of that. But I do know that him being a confirmed
      gang member, I don’t know when his handgun license was issued, but
      being a documented gang member in the State of Texas, you are
      prohibited from possessing a firearm. It’s a qualifier for an automatic
      unlawful carrying of a weapon. You don’t have to have any other
      stipulations to that charge. Just being the confirmed gang member itself
      allows officers to arrest you for unlawful carrying of a weapon.
      [MS. JONES:] And he’s certainly not supposed to be around narcotics?
      [CHAD SCHROEDER:] No, ma’am. Federal law states you won’t be
      around, use narcotics, any kind of user or possess narcotics at all when
      you’re dealing with firearms, so –
      [MS. JONES:] Much less supposed to be using them in furtherance of a
      drug trafficking crime?
      [CHAD SCHROEDER:] Absolutely.
      ....
      [MR. CARRIZALES:] Okay. And Mr. – again, I want to make sure we’re
      sure about this. Mr. Adams does have a verified concealed handgun
      license; is that right?
      [CHAD SCHROEDER:] That he does.
      [MR. CARRIZALES:] Okay. And that you – do you know that it was
      issued in 2015? Do you have any idea?
      [CHAD SCHROEDER:] No, sir. I have no idea when it was issued.

                                         -6-
Case 3:17-cr-00460-M      Document 220    Filed 04/02/18    Page 7 of 16   PageID 599



       ....
       [MR. CARRIZALES:] Okay. The other topic I want to make sure and just
       address, Ms. Adams, is regarding a concealed handgun license. That you
       know of, does Mr. Adams have a concealed handgun license?
       [SHARHONDA ADAMS:] Yes, he does.
       [MR. CARRIZALES:] And do you know when he was able to obtain that?
       [SHARHONDA ADAMS:] I – if I remember clearly, my brother purchased
       it for him for his 21st birthday. So I believe he’s had it roughly around
       two years or so.
       [MR. CARRIZALES:] Okay. And he took the class and has -- and
       maintained that; is that right?
       [SHARHONDA ADAMS:] Yes, sir.
       [MR. CARRIZALES:] So he has a license to carry in the State of Texas?
       [SHARHONDA ADAMS:] Yes.
       ....
       [MR. CARRIZALES:] If they ordered that he not possess a firearm and
       surrender his concealed handgun license, would you make sure that he
       had no firearms and that he’d –
       [SHARHONDA ADAMS:] Yes. I would.
       [MR. CARRIZALES:] – surrender that?
       [SHARHONDA ADAMS:] Yes.
       ....
       [MR. CARRIZALES (in closing argument):] Your Honor, I would simply
       assert to the Court that Mr. Adams has no criminal history, has verified
       employment, has had a CHL during the entire pendency of when this
       happened, and would be willing to give that up. I believe that there are
       circumstances in which Mr. Adams would be able to be released and
       many conditions that would allow that to happen in a safe way to the
       community.

Id. at 20, 41-42, 53, 70, 85.

       Adams, through his then-retained counsel, has filed a Motion to Modify

Conditions of Release, see Dkt. No. 185, which explains that,

       [o]n December 28, 2017, the Court set the conditions of Defendant’s
       release. Condition 7(t), requires Defendant to “surrender all firearms by
       9am on December 29, 2017 to pretrial services as well as the concealed
       handgun license.” (Dkt. 140). Defendant was unable to surrender his
       concealed handgun license. As a result, Defendant has not been released
       from custody.
             After obtaining documents for the Texas Department of Public

                                          -7-
Case 3:17-cr-00460-M     Document 220     Filed 04/02/18    Page 8 of 16    PageID 600



       Safety, it has been determined that Defendant does not have a concealed
       handgun license. See Exhibit A. On February 20, 2018, pre-trial services
       contacted the parties and informed them that a motion needed to be filed,
       requesting that bond condition 7(t) be modified, in order for Defendant to
       be released. See Exhibit B.
              WHEREFORE, Defendant prays that the Court grant this motion
       and modify bond condition (t), removing the requirement that Defendant
       surrender his concealed handgun license.

Id. at 1-2.

       The government opposes the requested modification and requested a hearing.

See id. at 2.

       United States District Judge Sidney A. Fitzwater referred this motion to the

undersigned United States magistrate judge for a hearing, if necessary, and

determination under 28 U.S.C. § 636(b)(1)(A). See Dkt. No. 187.

       On March 22, 2018, the government also filed a Motion for Pretrial Detention

Based on New Information, see Dkt. No. 195, which Judge Fitzwater also referred to

the undersigned for a hearing, if necessary, and determination under 28 U.S.C. §

636(b)(1)(A), see Dkt. No. 197. The government

       moves for the pretrial detention hearing to be reopened due to material
       information not previously known, pursuant to 18 U.S.C. Section 3142(e).
       The Court previously set conditions of release for defendant Jacqureay
       Adams. Because Adams was not able to comply with the Court’s
       conditions, he is still in custody. Adams has moved for his conditions to
       be modified. Since the detention hearing the government has learned new
       information that not only supports the Court reopening the hearing but
       further demonstrates that Adams should be detained pending trial.
              Adams stands charged in a three-count superseding indictment
       with firearm and narcotics offenses. The firearm count carries a
       mandatory minimum sentence of ten years imprisonment pursuant to 18
       U.S.C. Section 924(c)(1)(B)(i). While attempting to obtain a commercial
       driver’s license, Adams was arrested on the federal warrant. At the time
       of arrest Adams was carrying a handgun. Adams told pretrial services

                                          -8-
Case 3:17-cr-00460-M    Document 220      Filed 04/02/18    Page 9 of 16    PageID 601



      that he had a concealed handgun license (CHL), thus allowing him to
      carry the weapon. Adams’ mother, the appointed third party custodian,
      testified at the detention hearing that Adams had a CHL. The Court
      ordered Adams released on pretrial detention with conditions, including
      that Adams surrender his physical concealed handgun license to pretrial
      services. Not only did Adams not surrender his license, but his and his
      mother’s explanation for lack of surrender changed over the ensuing days.
      Specifically, Adams showed a certificate of completion document that he
      purported was his CHL. Adams personally wrote to the Court stating that
      he “never received a hard copy of my CHL. I’ve always used my certificate
      of completion ... after doing further research, I’ve found out that, due to
      medical reasons my CHL was denied.” [sic] (Dkt. No. 194.)
              The government has received Department of Public Safety records
      regarding his CHL that suggests Adams’ previous statements to the
      Court and pretrial services are untrue. In the records, Adams wrote a
      handwritten appeal of his denial of his CHL application. Additionally,
      Adams personally appeared in court for the hearing wherein the Judge
      affirmed the original denial. Based on this information, Adams’ previous
      explanation regarding his CHL status and his knowledge of the status
      are untruthful and he cannot be trusted to comply with any conditions of
      release set by this Court.
              Additionally, Adams no longer has a trustworthy third party
      custodian. Since Adams third party custodian testified that he had a
      CHL, at best, she does not know the truth about her son and can’t be
      trusted to assure his appearance in court. In the alternative, she lied to
      the Court, which also makes her an unsuitable and reliable third party
      custodian.
              In conclusion, Adams is charged with a crime that has a
      presumption of detention. To any extent that Adams successfully
      rebutted this presumption, that rebuttable evidence no longer exists.
      Considering Adams’ propensity to possess weapons and the fact that he
      was specifically denied his CHL because he could not be trusted to be safe
      with a firearm, public safety is in jeopardy if he is released. There is no
      condition or combination of conditions that would reasonably assure
      Adams’ appearance at trial. 18 U.S.C. § 3142(a)(3). As such, the
      government requests this Court detain Adams pending trial.

Dkt. No. 196 at 1-3.

      The Court held a hearing on both motions on March 23, 2018, at which Adams,

his then-retained counsel, and the government’s counsel appeared and at which


                                          -9-
Case 3:17-cr-00460-M     Document 220      Filed 04/02/18    Page 10 of 16    PageID 602



 Adams’s counsel confirmed that she was aware of the government’s position as to

 detention before its motion was filed on March 22 and was prepared for a hearing on

 that motion as well as Adams’s own motion to modify. The Court heard argument on

 both motion and admitted Government Exhibit 1 without objection. At the conclusion

 of the hearing, the Court took both motions under advisement to permit time for the

 December 28, 2017 detention hearing to be transcribed to assist with the Court’s

 decision.

       The Court has now reviewed that transcript, see Dkt. No. 210, as well as the

 transcript of the March 26, 2018 hearing, see Dkt. No. 211, and, for the reasons and to

 the extent explained below, the Court GRANTS Defendants Jaqureay Adams’s Motion

 to Modify Conditions of Release [Dkt. No. 185] and DENIES the Government’s Motion

 for Pretrial Detention Based on New Information [Dkt. No. 195].

                                   Legal Standards

       The Court is required to “order the pretrial release of the person on personal

 recognizance, or upon execution of an unsecured appearance bond in an amount

 specified by the court, subject to the condition that the person not commit a Federal,

 State, or local crime during the period of release and subject to the condition that the

 person cooperate in the collection of a DNA sample from the person if the collection of

 such a sample is authorized pursuant to section 3 of the DNA Analysis Backlog

 Elimination Act of 2000 (42 U.S.C. 14135a), unless the judicial officer determines that

 such release will not reasonably assure the appearance of the person as required or will

 endanger the safety of any other person or the community.” 18 U.S.C. § 3142(b).

                                          -10-
Case 3:17-cr-00460-M     Document 220       Filed 04/02/18    Page 11 of 16     PageID 603



       If release under Section 3142(b) on personal recognizance or an unsecured

 appearance bond will not reasonably assure the appearance of the person as required

 or will endanger the safety of any other person or the community, the Court is directed

 to release a defendant “subject to the least restrictive further condition, or combination

 of conditions, that such judicial officer determines will reasonably assure the

 appearance of the person as required and the safety of any other person and the

 community, which may include the condition that the person – (I) remain in the

 custody of a designated person, who agrees to assume supervision and to report any

 violation of a release condition to the court, if the designated person is able reasonably

 to assure the judicial officer that the person will appear as required and will not pose

 a danger to the safety of any other person or the community; (ii) maintain employment,

 or, if unemployed, actively seek employment; (iii) maintain or commence an

 educational program; (iv) abide by specified restrictions on personal associations, place

 of abode, or travel; (v) avoid all contact with an alleged victim of the crime and with a

 potential witness who may testify concerning the offense; (vi) report on a regular basis

 to a designated law enforcement agency, pretrial services agency, or other agency; (vii)

 comply with a specified curfew; (viii) refrain from possessing a firearm, destructive

 device, or other dangerous weapon; (ix) refrain from excessive use of alcohol, or any use

 of a narcotic drug or other controlled substance, as defined in section 102 of the

 Controlled Substances Act (21 U.S.C. 802), without a prescription by a licensed medical

 practitioner; (x) undergo available medical, psychological, or psychiatric treatment,

 including treatment for drug or alcohol dependency, and remain in a specified

                                           -11-
Case 3:17-cr-00460-M      Document 220       Filed 04/02/18    Page 12 of 16     PageID 604



 institution if required for that purpose; ... and (xiv) satisfy any other condition that is

 reasonably necessary to assure the appearance of the person as required and to assure

 the safety of any other person and the community.” 18 U.S.C. § 3142(c)(1)(B); accord

 United States v. Byrd, 969 F.2d 106, 108 (5th Cir. 1992).

        “For pretrial detention to be imposed on a defendant, the lack of reasonable

 assurance of either the defendant’s appearance, or the safety of others or the

 community, is sufficient; both are not required.” United States v. Rueben, 974 F.2d 580,

 586 (5th Cir. 1992).

        18 U.S.C. § 3142(f)(2) further provides that a detention “hearing may be

 reopened, before or after a determination by the judicial officer, at any time before trial

 if the judicial officer finds that information exists that was not known to the movant

 at the time of the hearing and that has a material bearing on the issue whether there

 are conditions of release that will reasonably assure the appearance of such person as

 required and the safety of any other person and the community.”

        Under Section 3142(f)(2), the Fifth Circuit has “interpreted th[e] standard as

 asking whether any ‘new’ information was presented.” United States v. Stanford, 367

 F. App’x 507, 510 (5th Cir. 2010) (citing United States v. Hare, 873 F.2d 796, 799 (5th

 Cir. 1989) (“We agree with the district court that the testimony of Hare’s family and

 friends is not new evidence.”); United States v. Stanford, 341 F. App’x 979, 984 (5th

 Cir. 2009) (“It cannot therefore be said that [the witnesses’] testimony was newly

 discovered or previously unavailable.”)).

        The Court may reject a motion to reopen because the evidence to be presented

                                             -12-
Case 3:17-cr-00460-M     Document 220      Filed 04/02/18    Page 13 of 16     PageID 605



 is not new or because it would not be material. See Hare, 873 F.2d at 799 (“Hare seeks

 a second hearing on various statutory grounds. First, he seeks to have his sister,

 mother, and a friend testify that he appeared whenever required to do so during prior

 prosecutions. He would also offer evidence of his exemplary conduct as an electrician

 while detained and of the fact that his pretrial incarceration will last considerably

 longer than usual. Under the Bail Reform Act a hearing may be reopened at any time

 before trial ‘if the judicial officer finds that information exists that was not known to

 the movant at the time of the hearing and that has a material bearing on the issue [of

 risk of flight or dangerousness].’ We agree with the district court that the testimony

 of Hare’s family and friends is not new evidence. Nor can the length of his current or

 potential future detention be considered under this section since it is not material to

 the issue of risk of flight or dangerousness. Given Hare’s past record of narcotics

 convictions and the seriousness of the present charges, the district court did not abuse

 its discretion in finding that Hare’s work as an electrician and selection as a trustee

 while in detention is not sufficiently material to the issue of dangerousness to justify

 a second hearing.” (footnote omitted)); accord Stanford, 367 F. App’x at 510-11.

                                        Analysis

       Proper conditions of pretrial release under Section 3142(c) are not intended to

 punish defendants, who have not yet been convicted of or sentenced for the charged

 offenses at issue. In setting conditions under Section 3142(c)(1), the Court’s task,

 rather, is to ascertain and “impose the least restrictive combination of conditions that

 the court determines will reasonably assure [a defendant’s] appearance as required

                                           -13-
Case 3:17-cr-00460-M       Document 220    Filed 04/02/18    Page 14 of 16     PageID 606



 and the safety of any other person and the community.” United States v. Yeh, No. 3:08-

 cr-96-P, 2013 WL 6568118, at *2 (N.D. Tex. Dec. 13, 2013). And the Court is directed

 to impose conditions that will reasonably assure – not guarantee – the appearance of

 the person as required and the safety of any other person and the community. See

 United States v. Fortna, 769 F.3d 243, 250 (5th Cir. 1985). Another court has observed

 that “[i]t is not uncommon for courts to impose conditions of pretrial release that

 attempt to prevent or reduce the risk that the defendant will engage in similar or

 related criminal activities to those charged in the complaint or indictment.” United

 States v. Call, 874 F. Supp. 2d 969, 979 (D. Nev. 2012).

       This is an unusual set of facts. But the Court believes it boils down to this: Does

 the fact that Adams never actually had a valid concealed handgun license but asserted

 (at least through counsel and his mother) that he did materially change the balance of

 facts that led the Court to deny the government’s detention motion and order Adams

 released on conditions.

       Having carefully considered the entire record laid out above, the Court

 determines that it does not. As the government’s counsel acknowledged, there were

 grounds for confusion here because Adams was issued a license number for a concealed

 handgun license. Even the arresting officer apparently believed that he possessed a

 valid license. And he was willing to walk into a Texas Department of Public Safety

 office with a concealed handgun – according to Adams, because he believed he had a

 valid license after a temporary period in which it was denied or revoked.

       The Court was not persuaded that Adams’s possessing a handgun in his

                                          -14-
Case 3:17-cr-00460-M     Document 220     Filed 04/02/18    Page 15 of 16    PageID 607



 waistband in the apartment that was the operational center of this drug conspiracy

 weighed against any concerns of his alleged dangerousness.

       And the Court’s conditions require that he surrender his firearms – which he has

 and which the government does not suggest as a general matter he could not legally

 own – and that he not possess any firearms while on release. He has done so, and the

 state authorities should be responsible for updating their databases to remove any

 indication that Adams has a concealed handgun license.

       In short, the Court is not convinced that Adams or his mother were lying to the

 Court about the status of a concealed handgun license – and then engaged in an

 elaborate (and quite prolonged) effort after the hearing to appear to be looking for

 something that they knew from the outset did not exist – as opposed to having been

 genuinely confused by what the government has acknowledged were circumstances

 that could engender confusion. See Dkt. No. 211 at 8.

       In light of the charged offenses and the evidence presented at the detention

 hearing and the March 26, 2018 hearing as well as in support of the instant motion and

 at the hearing, the Court finds and determines that Adams’s requested modification

 under 18 U.S.C. § 3142(c) to Defendant’s existing conditions is appropriate to achieve

 the least restrictive combination of conditions that will reasonably assure Defendant’s

 appearance as required and the safety of any other person and the community and the

 Court MODIFIES its December 28, 2017 Order Setting Conditions of Release [Dkt. No.

 140] to eliminate the condition (Condition (t)) that Adams mus surrender his concealed

 handgun license.

                                          -15-
Case 3:17-cr-00460-M    Document 220    Filed 04/02/18   Page 16 of 16   PageID 608



                                   Conclusion

       For the reasons and to the extent explained above, the Court GRANTS

 Defendants Jaqureay Adams’s Motion to Modify Conditions of Release [Dkt. No. 185]

 and DENIES the Government’s Motion for Pretrial Detention Based on New

 Information [Dkt. No. 195].

       SO ORDERED.

       DATED: April 2, 2018



                                       _________________________________________
                                       DAVID L. HORAN
                                       UNITED STATES MAGISTRATE JUDGE




                                        -16-
